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               IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MINNESOTA

                      ARRAIGNMENT & PLEA HEARING
UNITED STATES OF AMERICA,                )         COURT MINUTES - CRIMINAL
                                         )
                        Plaintiff,       )    Case No:               20-113(3)(DSD/BRT)
                                         )    Date:                  March 25, 2021
v.                                       )    Court Reporter:        Renee Rogge
                                         )    Courthouse:            Minneapolis
MOHAMED HUSSEIN ABDI,                    )    Courtroom:             Video Conference
                                         )    Time Commenced:        11:00 a.m.
                        Defendant.       )    Time Concluded:        11:35 a.m.
                                         )    Sealed Hearing Time:
                                         )    Time in Court:         35 minutes

Before David S. Doty, United States District Judge, at Minneapolis, Minnesota.

APPEARANCES:

     For Plaintiff:    Emily Polachek, Assistant U.S. Attorney
     For Defendant:    Ryan P. Garry and Daniel S. Adkins : Retained

PROCEEDINGS:

     : Arraignment on : Information, 9 Indictment.

     : Waiver of Indictment filed in open Court.

     : Change of Plea Hearing

     : PLEA:

        : Guilty as to Count 1 of the Information.

     : Defendant advised to pay a special assessment in the amount of $100.00.
     : Presentence Investigation and Report requested.
     : Defendant is on a personal recognizance bond.
       Bond continued under the same terms and conditions previously imposed.




                                                                                  s/D.O.
                                                                                    Judicial Assistant
